                 Case: 2:16-cr-00074-EAS Doc #: 123 Filed: 10/07/16 Page: 1 of 6 PAGEID #: 320
AO 245B (Rev. 02/16) Judgment in a Criminal Case
                     Sheet 1




                                         United States District Court
                                                           Southern District of Ohio

              UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                  V.

                    GUILLERMO JACOBO, JR.                                      Case Number: 2:1ft-CR-74(6)

                                                                               USM Number:

                                                                                60908-408
                                                                               Defendant's Attorney
THE DEFENDANT:
0 pleaded guilty to count(s)           1 OF THE SUPERSEDING INDICTMENT
• pleaded nolo contendere to count(s)
   which was accepted by the court.
• was found guilty oncount(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                     Offense Ended             Count

                                                                                  possess                              '       ^ ' bnis""'
 846 and 18:3353(f)                  Intent to Distribute Cocaine




       The defendant is sentenced as provided in pages 2 through                       of this Judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
• Thedefendant has been found not guilty on count(s)
• Count(s)                                             •    is   • are dismissed on the motion of the United States.

        It isordered that thedefendant must notify theUnited States attorney for this district within 30days ofany change ofname, residence,
ormailing address until allfines, restitution, costs, and special assessments imposed bythisjudgment arefully paid. Ifordered topay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                        10/6/2016
                                                                       Date oflmposition ofJudgment




                                                                       Signature ofJudge




                                                                        EDMUND A. SARGUS, JR.
                                                                       Name and Title ofJudge



                                                                       Dale
                 Case: 2:16-cr-00074-EAS Doc #: 123 Filed: 10/07/16 Page: 2 of 6 PAGEID #: 321
AO 24SB (Rev. 02/16) Judgment in Criminal Case
                       Sheet 2 — Imprisonment
                                                                                                      Judgment — Page      2       of
DEFENDANT: GUILLERMO JACOBO, JR.
CASE NUMBER: 2:16-CR-74(6)

                                                               IMPRISONMENT

           The defendant is hereby committed to thecustody of theFederal Bureau of Prisons to be imprisoned fora total
term of:

  30 MONTHS (to include time served)




    El The court makes the following recommendations to the Bureauof Prisons:

  THE DEFENDANT BE DESIGNATED TO FCI, SAFFORD, AZ FOR SERVICE OF HIS SENTENCE.
  THE DEFENDANT PARTICIPATE IN THE RDAP PROGRAM.
  THE DEFENDANT COMPLETE HIS GED (any portion not completed will be a condition of supervised release).

     El The defendant is remanded to the custody of the United States Marshal.

    •      The defendant shall surrender to the United States Marshal for this district:

           •   at                                 •     a.m.    •    p.m.       on                                             .
           •   as notified by the United States Marshal.

    •      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           •   before 2 p.m. on                                             .
           •   as notified by the United States Marshal.

           •   as notifiedby the Probationor Pretrial ServicesOffice.


                                                                    RETURN

 I have executed this judgment as follows:




           Defendantdelivered on                                                           to

a                                                     , with a certified copy of thisjudgment.


                                                                                                    UNITED STATES MARSHAL




                                                                            By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                    Case: 2:16-cr-00074-EAS Doc #: 123 Filed: 10/07/16 Page: 3 of 6 PAGEID #: 322
A024SB (Rev. 02/16)Judgmentin a CriminalCase
                    Sheet 3 — Supervised Release
                                                                                                            Judgment—Page        J   of
 DEFENDANT: GUILLERMO JACOBO, JR.
 CASE NUMBER: 2:16-CR-74(6)
                                                            SUPERVISED RELEASE

 Upon release from imprisonment, the defendant shall beon supervised release for a term of:
 2 YEARS


              The defendant must report totheprobation ofHce inthedistrict towhich thedefendant isreleased within 72hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 Thedefendant shall notunlawfully possess a controlled substance. Thedefendant shall refrain from any unlawful useof a controlled
 substance. Thedefendant shall suomit to onedrugtestwithin IS days of release from imprisonment andat least twoperiodic drug tests
 thereafter, as determined by thecourt.
 •    The abovedrug testingcondition is suspended, basedon the court's determination that the defendant posesa low risk of
           future substance abuse. (Check, (fapplicable.)

 0         Thedefendant shall not possess a firearm, ammunition, destructive device, or anyotherdangerous weapon. (Check, tfapplicable.)
 0         The defendant shall cooperate in the collection of ONA as directed by the probation officer. (Check, ifapplicable.)

 f-i The defendant shall comply with the requirements of the SexOffender Registration and Notification Act (42 U.S.C. § 16901, ei seq.)
           asdirected by the probation officer, the Bureau of Prisons, orany state sex offender registration agency in which heorsheresides,
           works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

 •         The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
         If this judgment imposes a fine or restitution, it is a condition ofsupervised release that the defendant pay in accordance with the
 Schedule of Paymentssheet of thisJudgment.
              The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
      1)    the defendantshall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendantshall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     thedefendant shall notassociate with any persons engaged incriminal activity andshall notassociate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
     10)    the defendant shall permit a probationofficer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
     11) the defendant shall notify the probation officer withinseventy-twohours of beingarrestedor questioned by a law enforcement officer;
     12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
     13)    as directed bythe probation officer, thedefendant shall notify third parties ofrisks that may beoccasioned bythedefendant's criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B (Rev.02/16) Judgment in a Criminal Case
        Sheet 3C— Supervised Release
                                                                          Judgment—Page    or

DEFENDANT: GUILLERMO JACOBO, JR.
CASE NUMBER: 2:16-CR-74(6)

                                         SPECIAL CONDITIONS OF SUPERVISION
 1) THE DEFENDANT SHALL PARTICIPATE IN APROGRAM OF TESTING AND TREATMENT FOR ALCOHOL AND
 CONTROLLED SUBSTANCE ABUSE AS DIRECTED BY THE U.S. PROBATION OFFICE, UNTIL SUCH TIME AS THE
 DEFENDANT IS RELEASED FROM THE PROGRAM BY THE PROBATION OFFICE. THE DEFENDANT WILL MAKE A
 CO-PAYMENT FOR TREATMENT SERVICES NOT TO EXCEED $25 PER MONTH, WHICH IS DETERMINED BY THE
 DEFENDANT'S ABILITY TO PAY.

 2) THE DEFENDANT SHALL OBTAIN HIS GED.
                Case: 2:16-cr-00074-EAS Doc #: 123 Filed: 10/07/16 Page: 5 of 6 PAGEID #: 324
AO 24SB (Rev.02/16) Judgment in a Criminal Case
        Sheet6 — Sehedule of Payments
                                                                                                           Judgment — Page      "     of
 DEFENDANT: GUILLERMO JACOBO, JR.
 CASE NUMBER: 2:16-CR-74(6)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability topay, payment ofthe total criminal monetary penalties is due as follows:
 A     0    Lump sumpayment of $            100.00             due immediately, balance due

            •     not later than                                   , or
            •     in accordance         •     C,     •    D,   •    E, or    •     F below; or

 B     •    Payment to begin immediately (may be combined with              • C,       • D, or      • F below); or
 C     •    Payment inequal                      (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                        (e.g., months oryears), tocommence                         (e.g., 30 or60 days) after the date ofthis Judgment; or
 D     •    Payment inequal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                        (e.g., montlts oryears), tocommence                         (e.g.. 30 or60 days) after release from imprisonment toa
            term ofsupervision; or

 E     •    Payment during the term of supervised release will commence within               (e.g., 30or60days) after release from
            imprisonment. Thecourt willset the payment plan based on an assessment of the defendant's ability to payat that time; or

 F     •    Special instructions regarding the payment of criminal monetarypenalties:




 Unless thecourt has expressly ordered otherwise, ifthisJudgment imposes imprisonment, payment ofcriminal monetary penalties isdue during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons
 Inmate Financial Responsibility Program, are made to theclerk of thecourt.

 The defendant shall receive credit for all payments previously made toward any criminal monetarypenalties imposed.



 •     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (inchtding defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 •     The defendant shall pay the cost of prosecution.

 •     The defendant shall pay the following court cost(s):

 •     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pawnents shall beapplied inthe following order: (1)assessment, (2)restitution principal, (3)restjtution interest, (4)fine principal,
 (5) fine interest, (6) community restitution,(7) penalties,and (8) costs, includingcost of prosecutionand court costs.
                   Case: 2:16-cr-00074-EAS Doc #: 123 Filed: 10/07/16 Page: 6 of 6 PAGEID #: 325
AO 245B (Rev.02/16)Judgmentin a CriminalCase
            Sheet S—Criminal Monetary Penalties
                                                                                                                          Judgment — Page         5        of

 DEFENDANT:               GUILLERMO JACOBO, JR.
 CASE NUMBER: 2:16-CR-74(6)
                                                     CRIMINAL MONETARY PENALTIES

       The defendant must pay the total cinmina! monetary penalties under the schedule of payments on Sheet 6.

                              Assessment                                                   Fine                                  Restitution

 TOTALS               $       100.00



 •     The determination of restitution is deferred until                                 . An Amended Judgment in a Criminal Case(A0245C) will be entered
       after such determination.


 •     The defendant must makerestitution (including community restitution) to the following payees in the amountlisted below.

       Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise jn
       the priority order orpercentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

     Name of Pavee                                                                              Total Loss*           Restitution Ordered       Prioritv or Percentage




                                             •'vi •••«
                                                                                                                                                                r,.




                                                                              -1——~T-'—-
                                                                                                      •   •."




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                                                                    I       . . it ;•*,




                                                                                                                 "" •             ' *•      'i-i.' .   .



                          f    •; i'-' < •                                                                       i'


 TOTALS                                                                 0.00                                              0.00



 •      Restitution amountordered pursuant to plea agreement S

 •      The defendant must pay interest on restitution and a fine of more than S2,S00, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0- All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 n      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        •     the interest requirement is waived for the            •       fine            •     restitution.

        •     the interest requirement for the           •   fine       •        restitution is modified as follows:

 * Findingsfor the totalamountof lossesare requiredunderChapters I09A, 110,1 lOA, and II3A of Title 18for offensescommitted on or after
 September 13, 1994, but before April 23, 1996.
